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                                                      THE HONORABLE JOHN C. COUGHENOUR
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                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9    AMAN SHEKHAR NAIDU,                                 CASE NO. C20-1410-JCC
10                           Plaintiff,                   MINUTE ORDER
11               v.

12    CITY OF LYNWOOD, et al.,

13                           Defendants.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court on Plaintiff’s application for court-appointed counsel
18   (Dkt. No. 6). Upon reviewing Plaintiff’s complaint, the Court concludes that it is appropriate to
19   forward Plaintiff’s case for further screening by the Federal Bar Association’s Pro Bono Panel.
20   See General Order 10-05, August 1, 2010, Section 3(c) (In re Amended Plan for the
21   Representation of Pro Se Litigants in Civil Rights Actions). The Clerk is DIRECTED to forward
22   the necessary materials, including Plaintiff’s complaint and application for court-appointed
23   counsel (Dkt. Nos. 5, 6), to the Screening Committee for the Pro Bono Panel and to RENOTE
24   Plaintiff’s motion to appoint counsel (Dkt. No. 6) to November 20, 2020.
25          //
26          //


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             Case 2:20-cv-01410-JCC Document 8 Filed 10/21/20 Page 2 of 2




 1        DATED this 21st day of October 2020.

 2                                               William M. McCool
                                                 Clerk of Court
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                                                 s/Tomas Hernandez
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                                                 Deputy Clerk
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